      Case: 3:17-cv-00786-jdp Document #: 39 Filed: 09/25/20 Page 1 of 3




                                              20,20    • it
      UNITED STATES DISTRICT COURT OF WESTERN WISCOgSIN. z:0
                                                            0.
Alexander, N. Ricky                                          ' 36e
          Petitioner
      Vs.                                        Case If 3:17-CV-786-JDP
Paul Kemper
       Respondent




  Notice of Appeal to the Court of Appeals from a judgment of the District Court



    Pro se litigant Ricky N. Alexander, submit this Notice of Appeal pursuant to Fed. R. App. 22
(B) challenging the district court's decision under Rule 60 (b), respondent warden Paul Kemper
yet being address to the United States Seventh Circuit Court of Appeals. From the District Court
ruling denying of my Habeas Corpus petition under § 2254 entered on 8/13/ 2020, petitioner
humbly ask this court to accept this notice. And grant an appeal challenging the district court's
decision on the merits of constitutional violation steuzutiug from my claims of double jeopardy
fifth amendment and sixth amendment infraction.
   My notice is untimely for good cause due to the pandemic there were several inmates on my
unit infected with the verse so we was on lock down thus we had no movement I had sent a letter
to the court of appeals asking for an extension. Because I had no clue what was fed. R. app. 22
they sent a package of the rules then we learned the following week the law library will be open
within two weeks so now please forgive my late filing and accept my notice of appeal please.




                             Declaration of Ricky N. Alexander


   I pro se litigant Ricky N. Alexander under Fed. It App. P. Rule 4 (c) (1) declares under the
penalty of perjury the following are true and correct.
   1) I filed a habeas corpus petition challenging the constitutionality of state's decision
       relating to my conviction.
      Case: 3:17-cv-00786-jdp Document #: 39 Filed: 09/25/20 Page 2 of 3




       I was denied habeas corpus relief by an erroneous determination of law by the district
       court on 8/13/ 2020.
       This notice of appeals being brought under Fed. R App. P. Rule 22 challenging the
       district court incorrect decision regarding the merits of constitutional violations.
Ricky N. Alexander #570855
Racine Correctional Institution                        Signature:   yAri        gatilthntri
P.O. Box 900
Sturtevant, WI 53177                                       Date:    69     1   da   I   okit20
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